Case 2:85-cv-04544-DMG-AGR Document 653 Filed 09/03/19 Page 1 of 2 Page ID #:33130




 1
 2
 3
 4
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 9
10
11   JENNY LISETTE FLORES; et al.,           Case No.: CV 85-4544-DMG (AGRx)
12           Plaintiffs,
13                                           ORDER RE EX PARTE
                  v.                         APPLICATION TO FILE BRIEF
14
                                             OF AMICUS CURIAE
15   WILLIAM P. BARR, Attorney               CHILDREN’S ADVOCACY
16   General of the United States; et al.,   ORGANIZATIONS [635]
17
             Defendants.
18
19
20
21
22
23
24
25
26
27
28
Case 2:85-cv-04544-DMG-AGR Document 653 Filed 09/03/19 Page 2 of 2 Page ID #:33131




 1                IT IS HEREBY ORDERED that the ex parte application of Children’s
 2   Rights, The Center for the Study of Social Policy, The Center on Children and
 3   Families at the University of Florida Fredric G. Levin College of Law, The
 4   Children’s Advocacy Institute of the University of San Diego School of Law, First
 5   Star, Inc., The Juvenile Law Center, The Center for Children & Youth Justice, and
 6   The Children’s Law Center, Inc., through lead amicus Children’s Rights, to file a
 7   brief of amicus curiae is GRANTED. The proposed brief submitted with the ex
 8   parte application must be re-filed separately on the docket within three court days.
 9
10   DATED: September 3, 2019
11                                          DOLLY M. GEE
                                            UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                          -1-
